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                                       UNITED STATES DISTRICT COURT
 9
                                 SOUTHERN DISTRICT OF CALIFORNIA
10
                                  (HONORABLE JEFFREY T. MILLER)
11
     UNITED STATES OF AMERICA,                  )      Criminal No. 09CR879-JM
12                                              )
                          Plaintiff,            )
13                                              )
     v.                                         )
14                                              )      ORDER GRANTING JOINT MOTION
     LOPEZ CEBALLO et al                        )      TO CONTINUE MOTION HEARING
15                                              )      [Docket No. 34]
                          Defendant.            )
16                                              )
                                                )
17                                              )
                                                )
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20         IT IS HEREBY ORDERED upon joint motion of all the parties, that the motion hearing currently

21 scheduled for September 11, 2009, be rescheduled to Friday, November 20, 2009, at 11:00 a.m.

22         SO ORDERED.

23 DATED: September 10, 2009

24
                                                         Hon. Jeffrey T. Miller
25                                                       United States District Judge

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